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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA                               JS-6
                                       CIVIL MINUTES - GENERAL
 Case No.       CV 15-0302 PSG (DTBx)                                       Date   May 30, 2017
 Title          John Hersey v. Legal Recovery Law Offices, Inc.




 Present: The Honorable        Philip S. Gutierrez, United States District Judge
                   Wendy Hernandez                                          Not Reported
                      Deputy Clerk                                         Court Reporter
            Attorneys Present for Plaintiff(s):                  Attorneys Present for Defendant(s):
                       Not Present                                           Not Present
 Proceedings (In Chambers):           Order DISMISSING Case

       On April 27, 2017, the Court issued an Order to Show Cause (“OSC”) by May 11,
2017, why the Court should not dismiss the case for lack of prosecution. Dkt. # 13. The
Court warned Plaintiff that failure to respond to the OSC might result in the dismissal of
the entire action. See id. Despite the Court’s warning, Plaintiff has not filed a response,
timely or otherwise. Because of Plaintiff’s failure to comply with the OSC, the Court
DISMISSES the claims against Defendant WITH PREJUDICE and closes the case.

         IT IS SO ORDERED.




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